Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 1 of 15
           Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 2 of 15

                          MINUTE SHEET OF PROCEEDINGS HELD BEFORE
                       DARYL F. BLOOM, UNITED STATES MAGISTRATE JUDGE
                                 UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
  USA v.      Scott Alex Slater, Jr., Scott Slater, Sr.,        CRIMINAL NO.         1:24‐MJ‐0046
              Jarrett Carl Scott, Tighe John Scott

  Courtroom          Date         6/5/2024       Time                   3:35 pm          Time             4:00 pm
  No. 5B                                         Commenced                               Terminated


  Charging Document:              Indictment          Information         Petition for          X Criminal Complaint
                                                                          Revocation

                                             X     Felony                Misdemeanor               Petty Offense
  Nature of              Initial Appearance – Rule 40 from Scranton via Zoom
  Hearing:
  Gov’t Counsel:         Robert O’Hara, AUSA                   Defense Counsel: James Burke, Esq. (Slaters) and Mark
                                                               Minotti, Esq. (Scotts)
  Interpreter:                                                 Retained ( X ) CJA ( ) FPD ( )

  X   Defendant Advised of Rights,                X        Defendant Requests               Appointed Yes X NO ☐
      Charges, Penalties                                   Court Appointed Counsel


      Plea               Guilty         Not Guilty            Sentencing Deferred Pending
      Entered                                                 PSI

      Jury Selection/Trial Scheduled For:
  X   Zoom proceedings in D.C. Scheduled For:                      June 25, 2024 at 12:30 p.m. – MJ Meriweather
      Detention Hearing and/or Arraignment


REMARKS: Court opened and case called. Defendants present with retained counsel. Defendants
informed of rights, charges and penalties. Defendants waives formal reading of the criminal complaint.
Defendants request preliminary hearings in the District of Columbia. Brady Notice read aloud.
Defendants released on conditions of release pending appearance in the District of Columbia. Counsel
may keep copies of the bail reports. Next case called.


Court Reporter: Wes Armstrong ( ) Lori Shuey ( )             Wendy Yinger ( )
Digitally Recorded (X) ‐ZOOM Recorded – Saved to Network Drive
Courtroom Deputy: Kevin J. Neary
       Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 3 of 15




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                    : CRIM. NO. 1:24-MJ-0046
                                            :
      v.                                    :
                                            :
                                            :
SCOTT ALEX SLATER, JR.                      :
SCOTT SLATER, SR.                           :
JARRETT CARL SCOTT                          :
TIGHE JOHN SCOTT                            :

                                   O R D ER

      Pursuant to the October 21, 2020 amendment to Rule 5 of the Federal Rules

of Criminal Procedure the Court provides the prosecution and defense counsel with

the following notice that confirms the disclosure obligation of the prosecution

under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, to disclose

exculpatory information to the defense in the above-captioned case.

      Under Brady the prosecution must produce material evidence in its

possession custody or control favorable to the accused. This obligation to produce

favorable evidence includes both exculpatory evidence and information which may

impeach government witnesses when that evidence is material either to guilt or

punishment.

      Such disclosures must be made in a timely manner in order to allow the use

                                        1
       Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 4 of 15




of the exculpatory information in the defense of the case.

      The failure to comply with this due process obligation may result in

dismissal of charges, exclusion of evidence, adverse inference jury instructions,

contempt proceedings or sanctions against counsel.

      So ordered this 5th day of June 2024.

                                              S/Daryl F. Bloom
                                              Daryl F. Bloom
                                              United States Magistrate Judge




                                         2
Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 5 of 15
                   Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 6 of 15

AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                     Page I of _   _ 4_   Pages



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Middle District of Pennsylvania


                    United States of America                              )
                                   V.                                     )
                                                                          )        Case No.     1:24~MJ-00046-DFB
                     SCOTT SLATER. SR.                                    )
                                                                          )
                              Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:               U.S. District Court- District of Columbia - via ZOOM
                                                                                             Place




      on                                                             6/25/2024 12:30 pm
                                                                         Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                      Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 7 of 15



AO 199B {Rev. 10/20) Additional Conditions ofRelease                                                                            Page~ of : _ Pages


                                               ADDITIONAL CONDITIONS OF RELEASE

    Pursuantto 18 U.S.C. § 3142(c)(l)(B), the court may impose the following least restrictive condition(s) only es necessary to reasonably assure the
                             appearance of the person as required and the safety of any other person end the community.

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D) (6)    The defendant is placed in the custody of.
            Person or organization
            Address (only ifabove is an organizaticm)
            City and state ---,-,,--.,----,-- -- - -- - - - - - = - - - - - -                            Tel. No. _ _ _ _ _ __ _ _ __ _
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                     Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _
                                                                                                 Custodian                                   Date
( 5ZJ ) (7) The defendant must
      (Kl ) (a) submit ID supervision by and report for supervision to the _P_re-_T_na_·_1s_e_rv1_c_es_O_fli_1ce_ _ _ __ _ _ _ _ _ __
                 telephone number        717-901-2860        , no later than
      ( 5?J) (b) continue or actively seek employment
      ( D ) (c) continue or start an education program.
      (jg!) (d) surrender any passport to:      _U~· 5_•~ -t)l ~ {_; ~R_~lc._i_ _C_W_f:1"__________________
      ( ~ ) (c) not obtain a passport or other international travel document
      <jZJ) (f) abide by the following restrictions on personal association, residence, or travel:   STlfl          _.,,t/11,,1 y   P~ ,.,.,.
                        0-l.             e"/.~                riL         ~o~           (/..6L;4.-TM)       ,._,,,,_fr'i,t(
      ( D) (g) avoid all contact, directly or indirectly, with any person who is or may he a victim or witness in the investigation or prosecution,
                 including:

      ( D ) (h) get medical or psychiatric treatment:

      ( D) (i) return to custody each
                                      - -- - - at - - - - o'clock after being released at _ ____ o'clock for employment, schooling,
               or the following purposes:

      ( D ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                 necessary.
      ({!l ) (k) not possess a firearm, destructive device, or other weapon.
      ( ~ ) (]) not use alcohol ( D ) at all ( ~ ) excessively.
      ( ~) (m) not use or unlawfully possess a narcotic drug or other controlled substanc.es defined in 21 U.S.C. § 802, unless prescribed by a licensed
                 medical practitioner.
      ( D ) (n) submit to testing for a proht'bited substance if required by the pretrial services office or supervising officer. Testing may be used with
                 random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                 prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                 of prob.J'bited substance screening or testing.
      ( D ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                 supervising officer.
      ( D) (p) participate in one of the following location restriction programs and CO'!!,l?IY with its requirements as directed.
                 ( D ) (i) Curfew. You are restricted to your resideoce every day ( U ) from _ _ _ _ _ to _ _ _ _ . or ( D ) as
                                directed by the pretrial services office or supervising o fficer; or
                 ( D) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-<>rdered obligations; or other
                               activities approved in advance by the pretrial services office or supervising officer; or
                 ( D) (iii) Home lncarcention. You are restricted to 24-hour-a~ay lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court; or
                 ( D) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                               you must comply with the location or travel restrictions as imposed by the court.
                               Note: Stand Alone Monitoring should he used in conjunction with global positioning system (GPS) technology.
      ( D) (q) submit to the following location monitoring technology and comply with its requirements as directed:
                Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 8 of 15




                                        ADDITIONAL CONDmONS OF RELEASE

           (□) (i)   Location monitoring technology as directed by the pretrial services or supervising officer; or
           (□) (ii) Voice Recognition; or
           (□) (iii) Radio Frequency; or
           (0) (iv) GPS.
( 0 ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
          officer.
(8) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with !aw enforcement personnel, including arrests,
          questioning, or traffic stops.
(0) (t) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                   Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 9 of 15

AO 199C (Rev. 09to8) Advice of Penalties                                                                       Page    4      of
                                                                                                                                     4
                                                                                                                                         Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term ofnot more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness. victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       rt: after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you arc convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more-you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                ~                                        Defendant "s SignaJ11Te



                                                                                             Address amllfelephone Number



                                               Directions to the United States Marshal

( )() The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.


Date: ~J_V_
          N_E_6-+,1_ Z.;c__O=Z'-----'+,_                   :Z:::,¢' '(.<2::£--
                                                                            Daryl F. Bloom, U.S. Magistrate Judge
                                                                                         Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY         U.S. MARSHAL
                  Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 10 of 15


AO 467 (Rev. 0 1/09) Order Requ iring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                                                                                      riteo
                                                                                                                                    HARRISBURG, PA
                                                                            for the
                                                           Middle District of Pennsylvania
                                                                                                                                     JUN D5 2024
                                                                                                                              PER        Jy\../
                   United States of America                                     )
                                   V.                                           )       Case No. 1:24-mj-00046-DFB-1
                                                                                )
                     SCOTT SLATER, SR.                                          )       Charging District:          District of Columbia
                              Def endant                                        )       Charging District's Case No. 1:24-MJ-00195



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are :


Place: U.S. District Court - District of Columbia, E. Barrett                           Courtroom No.: Zoom Hearing - M.J. Meriweather
       Prettyman U.S. Courthouse, 333 Constitution Ave ,
       NW, Washington, DC 20001                                                         Date and Time: 6/25/2024 12:30 pm


        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.



Date:       J~NE.          5 1 2-b l. 4-

                                                                                      Daryl F. Bloom , United States Magistrate Judge
                                                                                                          Printed name and title




* *Zoom Link information attached
  Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 11 of 15




June 25 th at 12:30 pm EST, before :

  MJ ROBIN M. MERIWEATHER
  ZOOM info:

   https://uscourts-
dcd.zoomgov.com/j/16189525787?pwd==Wl
h3MUY5VTRZTUFSYXM5REliN2UvZz0
9
   Meeting ID: 161 8952 5787
   Passcode: 860903
       Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 12 of 15

                                                                                      CLOSED
                      United States District Court
              Middle District of Pennsylvania (Harrisburg)
    CRIMINAL DOCKET FOR CASE #: 1:24−mj−00046−DFB All Defendants
                                *SEALED*
                            Internal Use Only

Case title: USA v. SEALED                              Date Filed: 06/05/2024

                                                       Date Terminated: 06/05/2024

Assigned to: Magistrate Judge
Daryl F. Bloom

Defendant (1)
Scott Alex Slater, Jr.            represented by James J. Burke
TERMINATED: 06/05/2024                           Law Offices of Frederick P. Rooney
                                                 7 West Morton Street
                                                 P.O.Box C
                                                 Bethlehem, PA 18015
                                                 (215) 882−9600
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

Pending Counts                                  Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                               Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                      Disposition
18:231.F − Obstructing Officers
during a civil disorder

Assigned to: Magistrate Judge
Daryl F. Bloom

Defendant (2)
Scott Slater, Sr.                 represented by James J. Burke
TERMINATED: 06/05/2024                           (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

Pending Counts                                  Disposition
       Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 13 of 15

None

Highest Offense Level (Opening)
None

Terminated Counts                              Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                     Disposition
18:231.F − Obstructing Officers
during a civil disorder

Assigned to: Magistrate Judge
Daryl F. Bloom

Defendant (3)
Jarrett Carl Scott                represented by Mark L. Minotti
TERMINATED: 06/05/2024                           2240 Northhampton Street
                                                 Easton, PA 18042
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

Pending Counts                                 Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                              Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                     Disposition
18:231.F − Obstructing Officers
during a civil disorder

Assigned to: Magistrate Judge
Daryl F. Bloom

Defendant (4)
Tighe John Scott                  represented by Mark L. Minotti
TERMINATED: 06/05/2024                           (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
       Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 14 of 15

                                                           Designation: Retained

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                                 Disposition
18:231.F − Obstructing Officers
during a civil disorder


Plaintiff
USA                                               represented by Robert J. O'Hara
                                                                 Office of the U.S. Attorney
                                                                 William J. Nealon Federal Building
                                                                 235 North Washington Avenue
                                                                 Scranton, PA 18501
                                                                 570−348−2800
                                                                 Email: robert.O'Hara@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant US Attorney

 Date Filed     #   Docket Text
 06/05/2024      1 SEALED CRIMINAL COMPLAINT from District of Columiba with Affidavit of
                   Agent as to Scott Alex Slater, Jr (1), Scott Slater, Sr (2), Jarrett Carl Scott (3), Tighe
                   John Scott (4). (Attachments: # 1 Statement of Facts, # 2 Sealing Order − District of
                   Columbia, # 3 Arrest Warrant − Jarrett Scott, # 4 Arrest Warrant − Scott Slater Jr, # 5
                   Arrest Warrant − Scott Slater Sr, # 6 Arrest Warrant − Tighe Scott) (kjn) (Entered:
                   06/05/2024)
 06/05/2024         Arrest (Rule 40) of Scott Alex Slater, Jr, Scott Slater, Sr, Jarrett Carl Scott, Tighe John
                    Scott. (kjn) (Entered: 06/05/2024)
 06/05/2024      2 ARREST Warrant Returned Executed on 6/5/2024 in case as to Scott Alex Slater, Jr.
                   (kjn) (Entered: 06/05/2024)
 06/05/2024      3 ARREST Warrant Returned Executed on 6/5/2024 in case as to Scott Slater, Sr. (kjn)
                   (Entered: 06/05/2024)
 06/05/2024      4 (Court only) Minute Entry for proceedings held before Magistrate Judge Daryl F.
                   Bloom:Initial Appearance in Rule 40 Proceedings as to Scott Alex Slater, Jr, Scott
                   Slater, Sr, Jarrett Carl Scott, Tighe John Scott held on 6/6/2024. (Tape #Zoom
                   Recorded − Saved to Network Drive.)Total Time in Court [:25] (kjn) (Entered:
                   06/06/2024)
 06/05/2024      5 WAIVER of of Identity Hearing by Scott Alex Slater, Jr. (kjn) (Entered: 06/06/2024)
 06/05/2024      6 WAIVER of of Identity Hearing by Scott Slater, Sr. (kjn) (Entered: 06/06/2024)
    Case 1:24-mj-00195-ZMF Document 10 Filed 06/06/24 Page 15 of 15

06/05/2024    7 WAIVER of of Identity Hearing by Jarrett Carl Scott. (kjn) (Entered: 06/06/2024)
06/05/2024    8 WAIVER of of Identity Hearing by Tighe John Scott. (kjn) (Entered: 06/06/2024)
06/05/2024    9 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING
                AND TRANSFERRING BAIL as to Scott Alex Slater, Jr − Date and Time set for
                6/25/2024 12:30 PM.Signed by Magistrate Judge Daryl F. Bloom on June 5, 2024.
                (kjn) (Entered: 06/06/2024)
06/05/2024   10 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING
                AND TRANSFERRING BAIL as to Scott Slater, Sr − Date and Time set for
                6/25/2024 12:30 PM.Signed by Magistrate Judge Daryl F. Bloom on June 5, 2024.
                (kjn) (Entered: 06/06/2024)
06/05/2024   11 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING
                AND TRANSFERRING BAIL as to Jarrett Carl Scott − Date and Time set for
                6/25/2024 12:30 PM.Signed by Magistrate Judge Daryl F. Bloom on June 5, 2024.
                (kjn) (Entered: 06/06/2024)
06/05/2024   12 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING
                AND TRANSFERRING BAIL as to Tighe John Scott − Date and Time set for
                6/25/2024 12:30 PM.Signed by Magistrate Judge Daryl F. Bloom on June 5, 2024.
                (kjn) (Entered: 06/06/2024)
06/05/2024   13 ORDER Setting Conditions of Release as to Scott Alex Slater, Jr. Signed by
                Magistrate Judge Daryl F. Bloom on June 5, 2024. (kjn) (Entered: 06/06/2024)
06/05/2024   14 ORDER Setting Conditions of Release as to Scott Slater, Sr. Signed by Magistrate
                Judge Daryl F. Bloom on June 5, 2024. (kjn) (Entered: 06/06/2024)
06/05/2024   15 ORDER Setting Conditions of Release as to Jarrett Carl Scott. Signed by Magistrate
                Judge Daryl F. Bloom on June 5, 2024. (kjn) (Entered: 06/06/2024)
06/05/2024   16 ORDER Setting Conditions of Release as to Tighe John Scott. Signed by Magistrate
                Judge Daryl F. Bloom on June 5, 2024. (kjn) (Entered: 06/06/2024)
06/05/2024       (Court only) ***Case Terminated as to Scott Alex Slater, Jr, Scott Slater, Sr, Jarrett
                 Carl Scott, Tighe John Scott. Transfer documents e−mailed to District of Columbia.
                 (kjn) (Entered: 06/06/2024)
06/05/2024   17 RULE 5 NOTICE re: Brady disclosure obligations as to defendants Scott Alex Slater,
                Jr, Scott Slater, Sr, Jarrett Carl Scott, Tighe John Scott. Signed by Magistrate Judge
                Daryl F. Bloom on June 5, 2024. (kjn) (Entered: 06/06/2024)
